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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

JASON WAYNE MCDIVITT,

        Plaintiff,

v.                                               CASE NO. 3:20cv3773-MCR-MJF

ANDREW M. SAUL,

     Defendant.
________________________/

                                       ORDER

        The magistrate judge issued a Report and Recommendation on February 8,

2021.     ECF No. 21.         The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title 28,

United States Code, Section 636(b)(1). I have made a de novo determination of all

timely filed objections.

        Having considered the Report and Recommendation, and any timely filed

objections thereto, I have determined the Report and Recommendation should be

adopted.




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       Accordingly, it is now ORDERED as follows:

       1.     The magistrate judge’s Report and Recommendation (ECF No. 21) is

adopted and incorporated by reference in this Order.

       2.     Defendant’s Motion to Remand (ECF No. 19) is GRANTED and the

Commissioner’s decision denying benefits is REVERSED.

       3.     This case is REMANDED to the Commissioner of Social Security

pursuant to sentence four of 42 U.S.C. §405(g).

       4.     Defendant is ordered to conduct proceedings in accordance with this

report and recommendation.

       5.     The Clerk is directed to enter final judgment pursuant to Rule 58 of the

Federal Rules of Civil Procedure.

       6.     The Clerk is directed to administratively close the file.

       DONE AND ORDERED this 15th day of March 2021.



                                         s/  M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE




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